           Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 1 of 7




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                             No. 13-0613V
                                      Filed: September 24, 2014
                                         (Not to be published)

****************************
BRYAN KREHNBRINK           *
                           *
              Petitioner,  *                                Stipulation; Tdap; Deltoid Bursitis
     v.                    *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
****************************
Ronald C. Homer, Esq., Conway, Homer & Chin-Caplan, P.C., Boston, MA for petitioner.
Althea W. Davis, Esq., U.S. Department of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION1

Gowen, Special Master:

        Bryan Krehnbrink [petitioner] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on August 27, 2013. Petitioner alleges that the
Tdap vaccine he received on September 27, 2010, caused his deltoid bursitis3. See
Stipulation, filed September 22, 2014, at ¶¶ 2, 4. Further, petitioner alleges that he
experienced residual effects of his injury for more than six months. Id. at ¶ 4.
Respondent denies that the Tdap or flu vaccine caused petitioner’s bursitis or any other
injury or his current disabilities. Id. at ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
3
 Petitioner provides that he also received a trivalent influenza vaccine on September 27, 2010, but has
alleged no injury related to the administration of that vaccination. Stipulation at fn 1.
          Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. On September 22,
2014, the parties filed a joint stipulation agreeing to settle this case and describing the
settlement terms.

        Respondent agrees to pay petitioner:

            (a) A lump sum of $100,000.00 in the form of a check payable to
                petitioner, Bryan Krehnbrink. This amount represents compensation
                for all damages that would be available under § 300aa-15(a).

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.4


IT IS SO ORDERED.

                                                s/ Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 3 of 7
Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 4 of 7
Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 5 of 7
Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 6 of 7
Case 1:13-vv-00613-UNJ Document 30 Filed 10/24/14 Page 7 of 7
